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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND

 JUDITH A. SISTI,

                Plaintiff,

 v.                                                C.A. No. 1:17-cv-00005-M-LDA

 FEDERAL HOUSING FINANCE AGENCY,
 FEDERAL HOME LOAN MORTGAGE
 CORPORATION, and NATIONSTAR
 MORTGAGE, LLC,

               Defendants.


 PLAINTIFF’S ASSENTED-TO MOTION FOR ENLARGEMENT OF TIME TO RESPOND
     TO DEFENDANTS’ MOTION TO CERIFY THE AUGUST 2, 2018 ORDER FOR
        INTERLOCUTORY APPELLATE REVIEW UNDER 28 U.S.C. § 1292(b)

       Pursuant to Fed. R. Civ. P. 6(b)(1), Plaintiff Judith A. Sisti hereby requests this Court enlarge

the time in which Plaintiff must respond to Defendants’ Motion to Certify the August 2, 2018 Order

for Interlocutory Appellate Review Under 28 U.S.C. §1292(b) (the “Motion”). The Plaintiff requests

that she be permitted up to and including September 20, 2018 to prepare her objection to the Motion.

The reason for the extension is the undersigned counsel is leaving Rhode Island and is no longer

affiliated with Rhode Island Legal Services (“RILS”). Consequently, new RILS attorneys will enter

their appearance in the next few weeks and will be responding to the Motion. Counsel for the movant

Defendants consent to this extension.

Dated: August 29, 2018                               Respectfully submitted,
                                                     Judith A. Sisti
                                                     By Her Attorneys,
                                                      /s/ Steven M. Fischbach
                                                     Steven M. Fischbach, Bar No. 3259
                                                     158 ARNOLD AVENUE
                                                     CRANSTON, RI 02905
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent to all counsel of

record on August 29, 2018


                                                      /s/ Steven Fischbach




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